          Case 5:22-cv-00887-JD Document 12 Filed 11/23/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

ARMAND P. BOURQUE,                          )
                                            )
              Petitioner,                   )
                                            )
v.                                          )   Case No. CIV-22-00887-JD
                                            )
Director TDCJ-CID,                          )
                                            )
              Respondent.                   )

                                        ORDER

       On October 28, 2022, United States Magistrate Judge Shon T. Erwin issued a

Report and Recommendation [Doc. No. 9] on Petitioner Armand P. Bourque’s

application for leave to proceed in forma pauperis [Doc. No. 8]. Judge Erwin found that

Bourque had sufficient funds to pay the $5.00 filing fee, recommended that Bourque’s

application be denied, and recommended that Bourque be ordered to pay the full filing

fee for this action to proceed.

       On November 3, 2022, Bourque timely paid the $5.00 filing fee. [Doc. No. 10.].

He did not object to the Report and Recommendation.

       Upon its review, the Court ACCEPTS and ADOPTS the Report and

Recommendation [Doc. No. 9], which denies Bourque’s application for leave to proceed

in forma pauperis [Doc. No. 8], for the reasons stated in the Report and

Recommendation. Because Bourque has now paid the $5.00 filing fee, the Court RE-

REFERS this action to Judge Erwin for further proceedings consistent with 28 U.S.C.

§ 636 and Federal Rule of Civil Procedure 72.
  Case 5:22-cv-00887-JD Document 12 Filed 11/23/22 Page 2 of 2




IT IS SO ORDERED this 23rd day of November 2022.




                                2
